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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

SAMA CAMP, LLC,
      Plaintiff,
v.                                           CIVIL ACTION NO. 1:22-cv-01722-TCB

SAMA TEA, LLC; SAMA
WORLDWIDE INC.; SAMA
BEVERAGES, LLC; 100.CO; JAY
SHETTY; RADHI DEVLUKIA
SHETTY; KIM PERELL; and JAMES
BRENNAN,
      Defendants.

                     MEMORANDUM IN SUPPORT OF
                   MOTION TO DISMISS COUNTERCLAIM

      This action arises from Defendants’ infringement of Plaintiff Sama Camp,

LLC’s (“Plaintiff”) federally registered trademark. In response to Plaintiff’s

infringement allegations, Defendants Sama Tea, LLC; Sama Worldwide Inc.; and

Sama Beverages, LLC (the “Entity Defendants”) seek to cancel the registered

trademark via counterclaim. For the reasons stated herein, that counterclaim falls

short of the pleading requirements of Federal Rule of Civil Procedure 8 and 9(b).

Plaintiff therefore respectfully requests that the Court dismiss the counterclaim in its

entirety.
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                          FACTUAL BACKGROUND

      Plaintiff is the owner of the trademark registration for SAMA®, U.S.

Registration No. 5,325,040 (the “Mark”), issued by the United States Patent and

Trademark Office (“USPTO”) on October 31, 2017. ECF No. 6 ¶ 37; ECF No. 6-3.

The Mark was registered in connection with various goods and services, including

food and beverages, supplements, restaurant services, and spa services (the

“Goods”). ECF No. 6 ¶ 37; ECF No. 6-3. After Plaintiff registered the Mark,

Defendants began using the Mark in connection with their own tea-related goods

and services. ECF No. 6 ¶ 40. In furtherance of their use, the Defendants filed their

own application for the SAMA mark, U.S. Application Serial No. 90/016,315, on

June 23, 2020. ECF No. 18 ¶ 10.

      To curb Defendants’ use of the Mark, Plaintiff filed this lawsuit on May 22,

2022, alleging that it has prior rights to the Mark and that Defendants’ unauthorized

use with overlapping goods and services constitutes trademark infringement and

unjust enrichment in violation of the Lanham Act and Georgia law. See generally

ECF No. 6. In response, the Entity Defendants filed a joint Counterclaim that seeks

to cancel Plaintiff’s registration for the Mark on the bases of abandonment and fraud

on the USPTO. See generally ECF No. 18.

      To support their cancellation counterclaim, the Entity Defendants state that


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Plaintiff was administratively dissolved by the Georgia Secretary of State on June

17, 2019, and “was no longer active or conducting any business or making use of

the . . . Sama Mark” at the time Defendants filed their trademark application. Id. ¶¶

21–25. They also claim that, “[u]pon information and belief, Plaintiff has never used,

is not currently using, or has no intent to use or resume using the Sama Mark as

shown in the Registration in connection with [the Goods].” Id. ¶¶ 27–33. These

actions, they conclude, constitute “Plaintiff’s non-use and abandonment of the Sama

Mark,” and entitle Defendants to cancellation. Id. ¶ 36.

      As another ground for cancellation, the Entity Defendants state, “Upon

information and belief, the Plaintiff falsely and fraudulently represented to the

USPTO that it was using or was planning to use the Sama Mark . . . with some or all

of the goods or services recited in the Plaintiff’s Registration.” Id. ¶ 40. To support

this contention, they summarily claim that “Plaintiff lacked an intent to use one or

more of the goods listed in the application that resulted in Plaintiff’s Registration”

and “failed to use the mark on one or more of the listed goods in the application that

resulted in Plaintiff’s Registration.” Id. ¶¶ 38, 39.

      Plaintiff now moves to dismiss the Counterclaim pursuant to Federal Rule of

Civil Procedure 12(b)(6) for failure to state a claim, because the Entity Defendants

have failed to adequately plead trademark abandonment and have not met the


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particularity requirements for pleading fraud.

               ARGUMENT AND CITATION OF AUTHORITY

      A.     Standard of Review

      To survive a motion to dismiss under Rule 12(b)(6), a pleading must include

a “short and plain statement of the claim showing that the pleader is entitled to

relief.” Ashcroft v. Iqbal, 556 U.S. 662, 677–78 (2009) (quoting Fed. R. Civ. P.

8(a)(2)). Labels, conclusions, and formulaic recitations of the elements of a cause of

action are not sufficient, nor are mere naked assertions. Id. at 678 (citing Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 555 (2007)). A complaint must contain sufficient

factual matter, which, if accepted as true, would “state a claim to relief that is

plausible on its face.” Id. (quoting Twombly, 550 U.S. at 570). “A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw

the reasonable inference that the defendant is liable for the misconduct alleged.” Id.

(citation omitted).

      Although the facts in the complaint must be accepted as true and construed in

the light most favorable to the plaintiff, the Court need not accept as true a legal

conclusion concealed as a factual allegation. Id. Furthermore, “[u]nwarranted

deductions of fact in a complaint cannot be admitted as true for the purposes of

testing the sufficiency of the allegations.” Church Girls, LLC v. Rodgers, No. 2:18-


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CV-14232-ROSENBERG/MAYNARD, 2018 WL 5923436, at *3 (S.D. Fla. Nov.

13, 2018) (citing Aldana v. Del Monte Fresh Produce, N.A., Inc., 416 F.3d 1242,

1248 (11th Cir. 2005)).

      B.     The Entity Defendants Fail to State a Claim for Trademark
             Cancellation.

      Plaintiff alleges that Defendants infringed its rights in the Mark by selling

similar or identical goods under an identical trademark to which Plaintiff claims

prior rights. In response to Plaintiff’s trademark infringement allegations, the Entity

Defendants attempt to assert a claim for trademark cancellation based on Plaintiff’s

alleged abandonment of the Mark and alleged fraud on the USPTO. To succeed on

their cancellation claim, the Entity Defendants must prove: “(1) that [they have]

standing to petition for cancellation because [they are] likely to be damaged, and (2)

that there are valid grounds for discontinuing registration.” Pinnacle Advert. & Mktg.

Grp. v. Pinnacle Advert. & Mktg. Grp., 7 F.4th 989, 1004 (11th Cir. 2021); see also

15 U.S.C. §§ 1064, 1119. A party has standing if it “believe[s] that it is likely to be

damaged by the registration” because, for example, it has “a direct commercial

interest.” Edge Sys. LLC v. Aguila, No. 1:14-cv-24517-KMM, 2015 WL 6447502,

at *9–10 (S.D. Fla. Oct. 26, 2015) (quoting Cunningham v. Laser Golf Corp., 222

F.3d 943, 945 (Fed. Cir. 2000)).

      Plaintiff does not dispute that the Entity Defendants have sufficiently (if

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barely) pled a likelihood of damage. See ECF No. 18 ¶¶ 9–11, 37. However, they

have not done so regarding valid grounds for discontinuing Plaintiff’s registration of

the Mark. Two valid grounds upon which the Entity Defendants can achieve

cancellation of the Mark are by establishing Plaintiff’s abandonment of its rights or

showing that Plaintiff obtained the registration fraudulently. See 15 U.S.C. §

1064(3). Here, the Entity Defendants try to plead both of these grounds for

cancellation in their Counterclaim. However, because the Entity Defendants fail to

state a claim for relief under either ground, the Court should grant this Motion and

dismiss the Counterclaim in its entirety.

             1.    Trademark Abandonment

      A registered trademark is deemed abandoned

      when the mark’s use has been discontinued with intent not to resume
      such use. . . . Nonuse for 3 consecutive years shall be prima facie
      evidence of abandonment. ‘Use’ of a mark means the bona fide use of
      such mark made in the ordinary course of trade, and not made merely
      to reserve a right in a mark.

Churchill Downs Inc. v. Commemorative Derby Promotions, Inc., No. 1:12-cv-517-

JEC, 2014 WL 3908521, at *4 (N.D. Ga. Aug. 8, 2014) (quoting 15 U.S.C. § 1127).

Thus, a “[d]efendant must show that the plaintiff actually abandoned use of the mark,

and, also, that the plaintiff intended to abandon the mark.” Bd. of Regents of the

Univ. Sys. of Ga. v. Buzas Baseball, Inc., 176 F. Supp. 2d 1338, 1349 (N.D. Ga.


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2001) (quoting Citibank, N.A. v. Citibanc Grp., 724 F.2d 1540, 1545 (11th Cir.

1984)).

      As a preliminary matter, six of the eighteen allegations arguably pertaining to

the Entity Defendants’ abandonment defense do not meet the pleading requirements

of Rule 8. These six allegations are listed below:

          • “Because of its reasonable and good faith belief that Plaintiff had
            abandoned the Plaintiff’s Registration and the Sama Mark, Sama
            Worldwide, Inc. instituted a Cancellation Proceeding in the United
            States Trademark Trial and Appeal Board (the “Board”) on April 29,
            2021, the same being Cancellation No. 92077032 (the “TTAB
            Proceeding”). ECF No. 18 ¶ 12 (emphasis in original).

          • “The Plaintiff’s abandonment of Plaintiff’s Registration and the Sama
            Mark negates the claims that Plaintiff has asserted in its Amended
            Complaint.” Id. ¶ 19.

          •    “Upon information and belief, Plaintiff abandoned the Sama Mark
              shown in Plaintiff’s Registration pursuant to Section 14(3) and (6) of
              the Trademark Act, 15 U.S.C. § 1064(3) and (6).” Id. ¶ 26.

          • “Upon information and belief, Plaintiff discontinued and abandoned the
            use of the SAMA mark at least as early as August 2019.” Id. ¶ 34.

          • “Upon information and belief, for at least three consecutive years,
            Plaintiff has not used the Sama Mark in connection with the list of
            goods and services identified in the Plaintiff’s Registration, thereby
            constituting prima facie evidence of abandonment of the Sama Mark as
            shown in the Plaintiff's Registration and pursuant to 15 U.S.C. § 1127.”
            Id. ¶ 35.

          • “In view of Plaintiff’s non-use and abandonment of the Sama Mark,
            Plaintiff is not entitled to continued registration of the Sama Mark
            pursuant to Sections 14(3) and (6) of the Trademark Act, 15 U.S.C. §

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            1064(3) and (6), and, as such, the Plaintiff’s Registration should be
            cancelled.” Id. ¶ 36.

These allegations contain either bare recitations of the elements of an abandonment

claim or legal conclusions unsupported by actual facts. They should, therefore, be

ignored. See Ashcroft, 556 U.S. at 678, supra.

      Absent the above-listed improper allegations, the Entity Defendants’

abandonment claim contains only the following statements:

         • “This counterclaim is being asserted within five (5) years of the
           issuance of the Plaintiff’s Registration. Upon information and belief, at
           the time of Defendant Sama Worldwide’s Application, namely, June
           23, 2020, Plaintiff was no longer active or conducting any business or
           making use of the Plaintiff’s Registration or the Sama Mark.” ECF No.
           18 ¶ 21.

         • “According to the online records maintained by the Georgia Secretary
           of State (the “Secretary”), the Secretary issued and sent a Notice of
           Intent to Administratively Dissolve Plaintiff to Plaintiff on June 17,
           2019. A true and correct copy of said Notice is attached hereto as
           Exhibit 5 and is incorporated in herein by reference.” Id. ¶ 22 (emphasis
           in original).

         • “According to the online records maintained by the Secretary, the
           Secretary issued and sent a Certificate of Administrative
           Dissolution/Revocation of Plaintiff to Plaintiff on August 26, 2019. A
           true and correct copy of said Certificate is attached hereto as Exhibit 6
           and is incorporated in herein by reference.” Id. ¶ 23.

         • “The Certificate attached at Exhibit 6 states, among other things, that
           Plaintiff: ‘was mailed a notice in accordance with Title 14 of the
           Official Code of Georgia Annotated and was involuntarily or
           administratively dissolved or its certificate of authority revoked by the
           Office of Secretary of State on 08/26/2019 for failure to file its annual

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             registration and/or failure to maintain a registered agent or registered
             office in this state. This certificate is issued pursuant to Title 14 of
             the Official Code of Georgia Annotated and is prima-facie evidence
             of the existence or nonexistence of the facts stated herein.’” Id. ¶ 24
             (emphasis in original).

          • “As of August 26, 2019, Plaintiff was no longer in existence as a
            Georgia limited liability company.” Id. ¶ 25.

          • “Upon information and belief, Plaintiff has never used, is not currently
            using, or has no intent to use or resume using the Sama Mark as shown
            in the Registration in connection with [the Goods].” Id. ¶¶ 27–33.

In summary, the Entity Defendants allege that (1) Plaintiff was administratively

dissolved in August 2019 (¶¶ 22, 23, 25); (2) Plaintiff was not conducting business

on June 23, 2020 (¶ 21); and (3) Plaintiff either has never used, is not currently using,

or has no intent to resume using the Mark as of the date the Entity Defendants filed

the Counterclaim (¶¶ 27–33).

      The only non-speculative, factual allegations in the above-listed paragraphs

revolve around the administrative dissolution of Sama Camp, LLC, in 2019. Courts

have previously determined that administrative dissolution is not, by itself, sufficient

to establish trademark abandonment. See, e.g., Jama Corp. v. Gupta, No. 3:99-CV-

01624, 2008 WL 108671, at *10 (M.D. Pa. Jan. 4, 2008) (“Although there may have

been a practical abandonment in the dissolution of M.K.J. Corporation, this

dissolution does not establish the actual intent to abandon the mark of ‘Old West.’”);

Council on Am.-Islamic Relations Action Network, Inc. v. Schlussel, No. 11-10061,

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2011 WL 3563290, at *13 (E.D. Mich. Aug. 11, 2011) (in case involving

administrative dissolution of trademark owner, “the issue of whether plaintiffs failed

to file annual reports or pay annual fees is not dispositive on the issue of

abandonment”); Sonista, Inc. v. Hsieh, 348 F. Supp. 2d 1089, 1095 (N.D. Cal. 2004)

(“[M]ere dissolution of the trademark holder does not amount to an extinction of the

rights of the parties in that mark.”); Durango Herald, Inc. v. Riddle, 719 F. Supp.

941, 945 (D. Colo. 1988) (“Mere dissolution of the holder of a trademark, however,

does not amount to an extinction of the rights of the parties in that mark.”).

      Moreover, Plaintiff’s corporate registration was reinstated on July 12, 2021,

less than two years after being dissolved. See SAMA Camp, LLC, Certificate of

Reinstatement (attached hereto as Ex. A). 1 Under Georgia law, a valid reinstatement

allows a limited liability company to “resume[ ] carrying on its business as if the

administrative dissolution never occurred.” O.C.G.A. § 14-11-603(4) (emphasis


1
  Although the Certificate of Reinstatement is not appended to the Amended
Complaint or Counterclaim, it is central to the Entity Defendants’ Counterclaim and
Plaintiff’s defense, and its authenticity cannot be reasonably disputed. See FindWhat
Inv’r Grp. v. FindWhat.com, 658 F.3d 1282, 1298 n.15 (11th Cir. 2011) (“A
document outside the four corners of the complaint may still be considered on a
motion to dismiss if it is central to the plaintiff's claims and is undisputed in terms
of authenticity.” (citation omitted)); see also Arnold v. Nationstar Mortg. LLC, No.
1:17-cv-3224-TWT-JKL, 2017 WL 5986233, at *7 n.3 (N.D. Ga. Nov. 8, 2017) (“In
deciding a motion to dismiss, the Court can properly take judicial notice of public
records maintained by the Georgia Secretary of State.”), recommendation adopted,
2017 WL 5971994 (N.D. Ga. Dec. 1, 2017).

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added); see also Ex. A at 1. This reinstatement vitiates any claim that Plaintiff’s

dissolution resulted in its abandonment of the Mark. Cf. Stock Pot Rest., Inc. v.

Stockpot, Inc., 737 F.2d 1576, 1581–81 (Fed. Cir. 1984) (where state statute gave

reinstated corporation “same powers, duties and obligations as if it had not been

dissolved,” corporation had not abandoned trademark during dissolution period);

Minn. State Archery Ass’n I v. Minn. State Archery, No. 02-4290 (RHK/RLE), 2003

WL 1589868, at *7 (D. Minn. Mar. 20, 2003) (abandonment claim lacked merit

where statutorily dissolved corporation reactivated its status).

      And, because the dissolution lasted less than three years, it also cannot, in

itself, establish a prima facie claim of abandonment by the Entity Defendants. See

Cumulus Media, Inc. v. Clear Channel Commc’ns, Inc., 304 F.3d 1167, 1174 (11th

Cir. 2002) (“[The Lanham Act] allows a showing of three years of consecutive

nonuse to create a rebuttable presumption of intent not to resume use . . . .” (citing

15 U.S.C. § 1127)).

      Aside from the facts pertaining to Plaintiff’s administrative dissolution, the

Entity Defendants vaguely state, “Upon information and belief, Plaintiff has never

used, is not currently using, or has no intent to use or resume using the Sama Mark

as shown in the Registration in connection with [the Goods].” ECF No. 18 ¶¶ 27–

33. Even if the Court affords these allegations the requisite presumption of truth,


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they are based on pure conjecture and speculation. See Twombly, 550 U.S. at 555

(“Factual allegations must be enough to raise a right to relief above the speculative

level . . . .”). The Entity Defendants make no attempt to allege which goods Plaintiff

never sold, which goods it sold but is no longer selling, or when the sales ceased.

These bare allegations are nothing more than legal conclusions covering all the ways

a trademark can be abandoned, without providing Plaintiff and the Court with the

specificity necessary to show that the Entity Defendants are entitled to relief. The

Entity Defendants’ abandonment claim should be dismissed.

             2.    Fraud on the USPTO

      A trademark registration can only be cancelled due to fraud “if the applicant

or registrant knowingly makes a false, material representation with the intent to

deceive the USPTO.” Drew Estate Holding Co., LLC v. Fantasia Distrib., Inc., No.

11-21900-CIV, 2012 WL 234105, at *7 (S.D. Fla. Jan. 24, 2012) (quoting In re Bose

Corp., 580 F.3d 1240, 1245 (Fed. Cir. 2009)). To prove this, the claimant must

establish the following elements: “(1) the challenged statement was a false

representation regarding a material fact; (2) the registrant knew the representation

was false; (3) the registrant intended to deceive the USPTO; (4) the USPTO

reasonably relied on the misrepresentation; and (5) the party suffered damages

proximately resulting from such reliance.” Websters Chalk Paint Powder, LLC v.


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Annie Sloan Interiors, Ltd., No. 1:13-cv-2040-WSD, 2014 WL 4093669, at *30

(N.D. Ga. Aug. 18, 2014) (citing San Juan Prods., Inc. v. San Juan Pools of Kan.,

Inc., 849 F.2d 468, 473 (10th Cir. 1988)).

      Because such a claim sounds in fraud, it must meet the heightened pleading

requirements of Rule 9(b). Thus, the Entity Defendants must plead

      (1) precisely what statements were made in what documents or oral
      representations . . . , and (2) the time and place of each such statement
      and the person responsible for making . . . same, and (3) the content of
      such statements and the manner in which they misled the [USPTO], and
      (4) what the defendants obtained as a consequence of the fraud.

Id. at *8–9 (quoting Ziemba v. Cascade Int’l, Inc., 256 F.3d 1194, 1202 (11th Cir.

2001)).

      The Entity Defendants’ Counterclaim devotes only three distinct paragraphs

to its claim that Plaintiff committed fraud on the USPTO:

          • “Upon information and belief, Plaintiff lacked an intent to use one or
            more of the goods listed in the application that resulted in Plaintiff’s
            Registration at the time of filing of the application.” ECF No. 18 ¶ 38.

          • “Upon information and belief, Plaintiff failed to use the mark on one or
            more the listed goods in the application that resulted in Plaintiff’s
            Registration within the period of time for filing a statement of use.” Id.
            ¶ 39.

          • “Upon information and belief, the Plaintiff falsely and fraudulently
            represented to the USPTO that it was using or was planning to use the
            Sama Mark in commerce on or in connection with some or all of the
            goods or services recited in the Plaintiff’s Registration.” Id. ¶ 40.


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When combined with the one other relevant allegations in the Counterclaim—that

“[u]pon information and belief, Plaintiff has never used, is not currently using, or

has no intent to use or resume using the Sama Mark as shown in the Registration in

connection with [the Goods],” id. ¶¶ 27–33—these assertions fall short of the

pleading requirements outlined above.

      First, these allegations are impermissibly vague. Reading them together,

Plaintiff may have never started using the Mark with one, multiple, or all of the

Goods, or it may have started using the Mark with one, multiple, or all of the

categories of Goods and stopped—all while having either no intent to ever begin

using the Mark or no intent to resume using the Mark after stopping. Such allegations

constitute a thinly veiled stab in the dark as to whether Plaintiff was or was not using

the trademark at any given time. In fraud claims, “[t]here is no room for speculation,

inference or surmise,” all of which are present here. Websters Chalk, 2014 WL

4093669, at *30 (quoting Bose, 580 F.3d at 1244). In essence, the claim is nothing

more than “an unadorned, the-defendant-unlawfully-harmed-me accusation” that

should not be permitted. Ashcroft, 556 U.S. at 678.

      Second, the allegations do not specify when or how the alleged false

statements were made. Cf. Drew Estate Holding, 2012 WL 234105, at *11

(dismissing fraud-on-USPTO claim that failed to state “when the lies were uttered


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or how”). Nor do they establish that the USPTO relied on the statements or that

Plaintiff achieved anything through the statements. Id. at *12 (fraud-on-USPTO

claim must include the motivation for the fraudulent statement, i.e., the “why”).

Finally, the allegations include no facts to suggest that Plaintiff intended to deceive

the USPTO. See Websters Chalk, 2014 WL 4093669, at *31.

      When viewed for what they truly are, these allegations show that the Entity

Defendants “expect[ ] (or maybe hope[ ]) that [they] will uncover evidence of fraud

during discovery,” which is “precisely the type of litigation behavior Rule 9(b) was

designed to prevent.” Id. (citing Brooks v. Blue Cross Blue Shield of Fla., Inc., 116

F.3d 1364, 1371 (11th Cir. 1997)). As with the Entity Defendants’ abandonment

claim, the fraud claim should be dismissed.

      C.     The Entity Defendants’ Derivative Claim for Attorneys’ Fees Must
             Be Dismissed.

      In addition to the cancellation claim, the Counterclaim includes a claim for

attorney’s fees pursuant to O.C.G.A. § 13-6-11. This claim is derivative of the Entity

Defendants’ substantive claims and cannot exist in their absence. See Sandy Springs

Toyota v. Classic Cadillac Atlanta Corp., 604 S.E.2d 303, 306 (Ga. Ct. App. 2004).

As explained above, the Entity Defendants have failed to state a claim for trademark

cancellation; therefore, their claim for attorney’s fees also fails and should be

dismissed.

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                                CONCLUSION

      The Entity Defendants’ Counterclaim is rife with conclusory, barebones

allegations that are insufficient to survive Rule 12(b)(6). Accordingly, the Court

should grant Plaintiff’s Motion to Dismiss the Counterclaim.

      Respectfully submitted, this 11th day of August, 2022.

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